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                                  UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

 IN RE: ZANTAC (RANITIDINE)                                                          MDL NO 2924
 PRODUCTS LIABILITY                                                                   20-MD-2924
 LITIGATION
                                                          JUDGE ROBIN L ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE REINHART

 __________________________________/

 THIS DOCUMENT RELATES TO:                                    JURY TRIAL DEMANDED
 __________________________________
 Ellis Quinn and Lisa Quinn

                        SHORT-FORM COMPLAINT – VERSION 2

        The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

 Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained in the

 Amended Master Personal Injury Complaint (“AMPIC”) in In re: Zantac (Ranitidine) Products

 Lability Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form Complaint –

 Version 2 as permitted by Pretrial Order No. 31 and as modified by the Court’s Orders regarding

 motions to dismiss [DE 2532, 2512, 2513, 2515, and 2016].

        Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and Causes

 of Actions specific to this case. Where certain claims require additional pleading or case specific

 facts and individual information, Plaintiff(s) shall add and include them herein.

        Plaintiff(s), by counsel, allege as follows:

                       I.      PARTIES, JURISDICTION, AND VENUE

    A. PLAINTIFF(S)

        1.      Plaintiff(s) Ellis Quinn (“Plaintiff(s)”) brings this action (check the applicable
                designation):

                               On behalf of [himself/herself];




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                                 In representative capacity as the __________________, on behalf
                                 of     the     injured    party,    (Injured  Party’s   Name)
                                 ___________________.

        2.      Injured Party is currently a resident and citizen of (City, State) Saint Helens, Oregon
                and claims damages as set forth below.

                                                       —OR—

                Decedent died on (Month, Day, Year) _______________. At the time of
                Decedent’s death, Decedent was a resident and citizen of (City, State)
                _________________________.

 If any party claims loss of consortium,

        3.      Lisa Quinn (“Consortium Plaintiff”) alleges damages for loss of consortium.

        4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a
                citizen and resident of (City, State) Saint Helens, Origon.

        5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)
                Saint Helens, Origon.


    B. DEFENDANT(S)


        6.      Plaintiff(s) name(s) the following Defendants from the Amended Master Personal
                Injury Complaint in this action:

                   a. Brand-Name Manufacturers:

                             -    GlaxoSmithKline LLC
                             -    Boehringer Ingelheim Pharmaceuticals, Inc.
                             -    Chattem, Inc.
                             -    Sanofi-Aventis U.S. LLC

                   b. Generic Manufacturers:


                   c. Distributors and Repackager:


                   d. Retailers:


                   e. Others Not Named in the AMPIC:




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    C. JURISDICTION AND VENUE


       7.    Identify the Federal District Court in which Plaintiff(s) would have filed this action
             in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the District
             Court to which their original action was removed]:

             District of Oregon.


       8.    Jurisdiction is proper upon diversity of citizenship.



                                   II.     PRODUCT USE


       9.    The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                             By prescription

                             Over the counter

       10.   The Injured Party used Zantac and/or generic ranitidine from approximately
             (month, year) January, 2014 to November, ,2019.


                                III.     PHYSICAL INJURY


       11.   As a result of the Injured Party’s use of the medications specified above, [he/she]
             was diagnosed with the following specific type of cancer (check all that apply):

  Check all Cancer Type                                              Approximate Date of
  that                                                               Diagnosis
  apply
            BLADDER CANCER                                           3/26/2020
            BREAST CANCER
            COLORECTAL/INTESTINAL CANCER
            ESOPHAGEAL CANCER
            GASTRIC CANCER
            KIDNEY CANCER
            LIVER CANCER
            LUNG CANCER




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                PANCREATIC CANCER
                PROSTATE CANCER
                OTHER CANCER:

                DEATH (CAUSED BY CANCER)

         12.     Defendants, by their actions or inactions, proximately caused the injuries to
                 Plaintiff(s).


                            IV.     CAUSES OF ACTION ASSERTED

         13.     The following Causes of Action asserted in the Amended Master Personal Injury
                 Complaint are asserted against the specified defendants in each class of Defendants
                 enumerated therein, and the allegations with regard thereto are adopted in this Short
                 Form Complaint by reference.

         14.     By checking the appropriate causes of action below, Plaintiff(s) assert these causes
                 of action based upon the law and applicable Sub-Counts of the following state(s):1



     Check      Count                      Cause of Action                   States for which
     all that                                                                the cause of action
     apply                                                                   was asserted in
                                                                             the AMPIC
                  I      Strict Products Liability – Failure to Warn through All States and
                         Warnings and Precautions (Against Brand-Name        Territories, Except
                         Manufacturer Defendants)                            DE, IA, MA, NC,
                                                                             PA, and VA
                  II     Negligence – Failure to Warn through Warnings       All States and
                         and Precautions (Against Brand-Name                 Territories, Except
                         Manufacturer Defendants)                            LA, NJ, OH, and
                                                                             WA
                 III     Strict Products Liability – Failure to Warn through All States and
                         Proper Expiration Dates (Against Brand-Name and Territories, Except
                         Generic Manufacturer Defendants)                    DE, IA, MA, NC,
                                                                             PA, and VA
                 IV      Negligence – Failure to Warn through Proper         All States and
                         Expiration Dates (Against Brand-Name and            Territories, Except
                         Generic Manufacturer Defendants)                    LA, NJ, OH, OK,
                                                                             and WA



 1
   In selecting the relevant states above, Plaintiffs reserve all rights to argue choice of law issues at
 a later time.



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    Check      Count                    Cause of Action                     States for which
    all that                                                                the cause of action
    apply                                                                   was asserted in
                                                                            the AMPIC
                V      Negligence - Failure to Warn Consumers through       CA, DE, DC, HI,
                       the FDA (Against Brand-Name and Generic              IN, KY, LA, MD,
                       Manufacturer Defendants)                             MA, MN, MO,
                                                                            NV, NY, OR, and
                                                                            PA
                VI     Strict Products Liability – Design Defect Due to     All States and
                       Warnings and Precautions (Against Brand-Name         Territories, Except
                       Manufacturer Defendants)                             DE, IA, MA, NC,
                                                                            PA, and VA
                VII    Strict Products Liability – Design Defect Due to     All States and
                       Improper Expiration Dates (Against Brand-Name        Territories, Except
                       and Generic Manufacturer Defendants)                 DE, IA, MA, NC,
                                                                            PA, and VA
               VIII    Negligent Failure to Test (Against Brand-Name        KS, TX
                       and Generic Manufacturer Defendants)
                IX     Negligent Product Containers: (Against Brand-        All States and
                       Name and Generic Manufacturers of pills)             Territories
                X      Negligent Storage and Transportation Outside the     All States and
                       Labeled Range (Against All Retailer and              Territories
                       Distributor Defendants)
                XI     Negligent Storage and Transportation Outside the     All States and
                       Labeled Range (Against All Brand-Name and            Territories
                       Generic Manufacturer Defendants)
                XII    Negligent Misrepresentation (Against Brand-Name      CA only
                       Manufacturers by Generic Consumers in
                       California)
               XIII    Reckless Misrepresentation (Against Brand-Name       MA only
                       Manufacturers by Generic Consumers in
                       Massachusetts)
               XIV     Unjust Enrichment (Against All Defendants)           All States and
                                                                            Territories
                XV     Loss of Consortium (Against All Defendants)          All States and
                                                                            Territories
               XVI     Wrongful Death (Against All Defendants)              All States and
                                                                            Territories

                If Count XV or Count XVI is alleged, additional facts supporting the claim(s):
                Loss of Martial Services




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                                          V.     JURY DEMAND

        15.    Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.




                                    VI.        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants’ actions or

 inactions and demand(s) judgment against Defendants on each of the above-referenced causes of

 action, jointly and severally to the full extent available in law or equity, as requested in the

 Amended Master Personal Injury Complaint.



 Dated: August 16, 2021



                                                       Respectfully submitted,

                                                       /s/ Christopher R. LoPalo
                                                       Christopher R. LoPalo, Esq.
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